~AO 2458   Case   5:13-cr-50034-TLB
            (Rev. 06/05) Judgment in a Criminal Case Document 167           Filed 02/11/14               Page 1 of 6 PageID #: 762
              Sheet 1



                                       UNITED STATES DISTRICT COURT
                        WESTERN                                  District of                                 ARKANSAS
          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                            V.
             ROSESHELL HAMIL TON                                         Case Number:                       5: 13CR50034-004
                                                                         USMNumber:                          11401-0 I0

                                                                         Paul Smith
                                                                         Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)       Eighteen (18) of the Indictment on July 8, 2013

D pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found gUilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated gUilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended

21 U.S.c. § 841(a)(1)            Possession with Intent to Distribute Methamphetamine                         02/13/2013                 18




       The defendant is sentenced as provided in pages 2 through         _---:.6~_ of this judgment, with the court considering the
guidelines as non-binding and advisory only.

D The defendant has been found not guilty on count(s)
X Counts 1. 15, 16, 17, and the Forfeiture Allegation are dismissed on the motion of the government.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                         February 7, 2014
                                                                         Date of Imposition ofJudgment


                                                                         lSI Jimm Larry Hendren
                                                                         Signature ofJudge




                                                                         Honorable Jimm Larry Hendren, United States District Judge
                                                                         Name and Title ofJudge


                                                                         February 1 J, 2014
                                                                         Date
AO 2458       Case     5:13-cr-50034-TLB
              (Rev. 06/05) Judgment in Criminal Case   Document 167          Filed 02/11/14       Page 2 of 6 PageID #: 763
              Sheet 2 - Imprisonment
                                                                                                      Judgment -   Page _ .....2 =--_ of   6
 DEFENDANT:                      ROSESHELL HAMILTON
 CASE NUMBER:                    5: 13CR50034-004

                                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:     one-hundred-twenty (120) months




  o    The court makes the following recommendations to the Bureau of Prisons:




  X       The defendant is remanded to the custody of the United States Marshal.

  o       The defendant shall surrender to the United States Marshal for this district:

          o     at     _________ 0                       a.m.    o p.m.       on

          o     as notified by the United States Marshal.

  o       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          o      before 2 p.m. on

          o      as notified by the United States Marshal.

          o      as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                          to

a_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL

                                                                             By _________________________________________
                                                                                               DEPUTY UNITED STATES MARSHAL
AO 2458      (Rev. 06/05) Judgment in a Criminal Case
            Case
             Sheet 3 -5:13-cr-50034-TLB
                        Supervised Release            Document 167          Filed 02/11/14          Page 3 of 6 PageID #: 764
                                                                                                          Judgment-Page      3     of          6
DEFENDANT:                  ROSESHELL HAMILTON
CASE NUMBER:                5: 13CR50034-004
                                                       SUPERVISED RELEASE
    Defendant is placed on supervised release for a term of:        three ~3) :rears        which term shall commence immediately
upon his release from imprisonment, and which shall be served under the fol owmg condltlOns:


1. Within 72 hours of release from custody of the Bureau of Prisons, the defendant shall report in person to the probation office in the
   district to which the defendant is released.

2. The defendant shall not commit another federal, state or local crime; the defendant shall be l'rohibited from possessing a firearm or other
   dangerous device; and the defendant shall not use, possess, or have anything at all to do with any controlled substance.

3. The defendant shall comply with the mandatory drug testing provisions of 18 U.S.C. § 3583(d).

4. The defendant shall comply with the DNA collection provisions of 18 U.S.c. § 3583(d).

5. If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
   Schedule of Payments sheet of this judgment.

6. The defendant shall comply with the Standard Conditions of Supervised Release as recommended by the United States Sentencing
   Commission and as set out below on this page of the judgment, as well as any additional conditions on the attached page.




                                       STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer.
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      the defendant shall as directed by the probation officer - notify third parties of risks that may be occasioned by the defendant's
          criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
          the defendant's compliance with such notification requirement.
AO 245B    (Rev. 06/05) Judgment in a Criminal Case
          Case   5:13-cr-50034-TLB Document 167
           Sheet 3C - Supervised Release
                                                                      Filed 02/11/14         Page 4 of 6 PageID #: 765
                                                                                                   Judgment-Page     4     of         6
DEFENDANT:              ROSESHELL HAMILTON
CASE NUMBER:            5: 13CR50034-004

                                    SPECIAL CONDITIONS OF SUPERVISION

1. The defendant shall submit to inpatient or oumatient substance abuse evaluation, counseling, testing, and/or treatment as deemed
necessary and directed by the U.S. Probation Office.

2. The defendant shall submit her person, residence, place of employment, and vehicle to a search conducted by the U.S. Probation Office
at a reasonable time and in a reasonable manner based upon reasonable suspicion that a violation of a condition of supervised release
might thereby be disclosed.
AD 2458   (Rev. 06/05) Judgment in a Criminal Case
          Case     5:13-cr-50034-TLB Document 167
          Sheet 5 - Criminal Monetary Penalties
                                                                            Filed 02/11/14      Page 5 of 6 PageID #: 766
                                                                                                 Judgment - Page _-,,5_ _    of        6
DEFENDANT:                      ROSESHELL HAMILTON
CASE NUMBER:                    5: 13CR50034-004
                                           CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                       Fine                                  Restitution
TOTALS           $ 100.00                                          $ 20,000.00                        $ ·0­


o The determination of restitution is deferred until ---. An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such determination.

o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the prioritx order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                              Total Loss*                        Restitution Ordered                   Priority or Percentage




TOTALS                           $ _ _ _ _ _ _ _...;o_                  $_______                     ~O~




o    Restitution amount ordered pursuant to plea agreement $ _ _ _ _ _ _ _ _ __

o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      X the interest requirement is waived for the        X fine     0 restitution.
      o the interest requirement for the      [J   fine    0   restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
AO 245B   (Rev. 06105) Judgment in a Criminal Case
          Case
          Sheet 6 -5:13-cr-50034-TLB
                    Schedule of Payments           Document 167           Filed 02/11/14           Page 6 of 6 PageID #: 767
                                                                                                        Judgment -   Page    6     of        6
DEFENDANT:                ROSESHELL HAMILTON
CASE NUMBER:              5: 13CR50034·004

                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A    X     Lump sum payment of $       20,100.00            due immediately, balance due

           o    not later than                                  , or
           X    in accordance        o C,       0 D,        0     E,or     X Fbelow;or
B    0     Payment to begin immediately (may be combined with            0 C,       o D, or      0 F below); or
C    0     Payment in equal                (e.g., weekly, monthly, quarterly) installments of $                      over a period of
          _ _ _ _ _ (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    0     Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment ofthe defendant's ability to pay at that time; or

F    X     Special instructions regarding the payment of criminal monetary penalties:
           If not paid immediately, any unpaid financial penalty shall be payable during the period of imprisonment in quarterly installments
           of$25.00 or 10% of defendant's quarterly earnings, whichever is greater. The payment of any remaining bafance snail be a
           condition of supervised release and may be paid In monthly installments of $200.00 or 10% of defendant's net monthly household
           income, whichever is greater, with the entire balance of the fine to be paid in full one month prior to the end of the 3-year period
           of supervised release.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment,payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made througfi the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




o    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




o    The defendant shall pay the cost of prosecution.

o    The defendant shall pay the following court cost(s):

o    The defendant shall forfeit the defendant's interest in the foIlowing property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
